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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


 FIFTH THIRD BANK NATIONAL                          )
 ASSOCIATION,                                       )
                                                    )
          Plaintiff,                                )
                                                    )
 v.                                                 )       Case No. 2:24-cv-02596-SHL-tmp
                                                    )
 COAST TO COAST IMPORTS, LLC,                       )
 STEIN INVESTMENTS, LLC, ANDY                       )
 STEIN, AW STEIN, INC., and                         )
 COAST TO COAST GLOBAL, LLC,                        )
                                                    )
          Defendants.                               )


           ORDER GRANTING EMERGENCY MOTION FOR THE IMMEDIATE
                        APPOINTMENT OF RECEIVER


          Before the Court is the Emergency Motion for the Immediate Appointment of Receiver,

 filed by Plaintiff Fifth Third Bank, National Association (“Fifth Third”), on August 20, 2024.

 (ECF No. 2.) In the motion, Fifth Third represents that Defendants Coast to Coast Imports, LLC,

 Stein Investments, LLC, Andy Stein, AW Stein, Inc., and Coast to Coast Global, LLC, have

 defaulted on various obligations to Plaintiff.

          Fifth Third asserts that Defendants agree, and as is indicated by the signatures of

 Defendants contained in the proposed order submitted by the Parties, that Fifth Third is entitled

 to the appointment of a receiver as a matter of law and equity, consistent with the following

 terms:

 A.       THE PARTIES’ AGREED FINDINGS OF FACT

          1.     Defendants are in default (the “Defaults”) under the Loan Documents, which

 Defaults are material and continuing.
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         2.      Defendants Coast to Coast Imports, LLC, Stein Investments, LLC, AW Stein, Inc.,

 and Coast to Coast Global, LLC (collectively, the “Entity Defendants”) are unable to effectively

 manage and operate their business affairs due to, inter alia, lack of cash and access to additional

 debt or equity financing.

         3.      Entity Defendants’ business operations have suffered (and continue to suffer).

         4.      Without additional capital infusion, the Entity Defendants’ project that they will

 imminently run out of cash.

         5.      As a result of the foregoing, the preservation and value of the Entity Defendants’

 assets are at risk of decline, deterioration, and dissolution.

         6.      The appointment of a receiver for the Entity Defendants is necessary to preserve

 and maintain the value of the Entity Defendants’ assets and business and to market the Entity

 Defendants’ business, personal property and real property for sale as the receiver deems

 appropriate.

         7.      Lawrence Perkins shall be appointed as the receiver for the Entity Defendants and

 their property (the “Receiver”).

 B.      APPOINTMENT OF RECEIVER

         8.      Effective as of 12.01 a.m. on August 23, 2024 (the “Effective Date”), the Receiver

 is hereby appointed as the receiver for the Entity Defendants and the Receivership Assets (as

 defined below) for a period commencing on the Effective Date and ending upon termination of

 such appointment by further Order of Court.

         9.      The Receiver is appointed for the purpose of managing, protecting, preserving, and

 operating and, if necessary, liquidating the Entity Defendants' businesses or assets for the benefit

 and protection of Fifth Third Bank, National Association (the “Bank” or “Plaintiff”) and its




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 Collateral 1, and for the benefit of all creditors of the Entity Defendants, but without any duty to

 create equity or otherwise represent the interests of any equity holders.

        10.     The Receiver is hereby exclusively granted and vested with all rights and powers

 of the Entity Defendants and any of their officers or directors to control, manage, administer,

 operate, and protect or any take other action of the Receivership Assets, including all statutory and

 common law powers, rights, and privileges necessary to carry out such purposes. The Receiver’s

 responsibilities include, but are not limited to, oversight of all aspects of the management,

 operation and, if deemed appropriate, orderly liquidation of the Entity Defendants’ assets and

 businesses.

 C.     DUTIES, RIGHTS AND POWERS OF RECEIVER

        11.     Without limiting the generality of the foregoing, the Receiver is granted the power

 and duty to immediately take exclusive possession of all assets of the Entity Defendants, including,

 but not limited to, taking control of the management, accounting, and protection of the Bank’s

 Collateral. The Receivership Assets shall include, but are not limited to, all personal property, real

 property (if any), inventory, machinery, equipment, vehicles, aircraft, fixtures, general intangibles,

 bills and accounts receivable, cash on hand and in banks (subject to any setoff rights in favor of

 the Bank), federal, state and local tax refunds and any rights thereto, all leases, contracts, rights,

 insurance policies (including, but not limited to, property, liability, errors and omissions, directors

 and officers liability, crime, theft, and other policies of insurance, hereafter “Claim Policies”),

 claims, tort claims, choses in action (including, but not limited to, all claims, rights, and coverage

 available under any claim policies or other applicable insurance policy, indemnity agreement,




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        All capitalized terms not defined herein shall have the same meaning as set forth in the
 Emergency Verified Motion for Appointment of Receiver. (ECF No. 2.)


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 insured contract, fidelity bond, or similar arrangement to pay, reimburse, or defend any loss, direct

 loss, damages, punitive damages, defense costs, investigative costs, liability, or similar sums),

 escrow accounts, escrow arrangements or agreements, intangibles, licenses, permits, patents,

 trademarks and names, copyrights, corporate franchises, and its income and profits, books of

 accounts, records and other books, papers and accounts, deeds, muniments of title, and all interests,

 easements, privileges, rights and assets, of every kind and whatever nature and wherever located,

 related to the Entity Defendants (collectively, the “Receivership Assets”).

        12.     The Receiver shall serve without bond, provided that the Receiver will well and

 truly perform its duties and shall abide by and perform all of the things that it shall be required to

 do under this Order.

        13.     The Receiver shall be entitled to reasonable compensation of $7,500 per month.

        14.     The Receiver shall be reimbursed for reasonable expenses, including reasonable

 attorneys’ fees, incurred in the performance of the Receiver’s duties. The Receiver and any

 professionals, independent contractors or agents employed by the Receiver will furnish the Bank

 and Defendants with copies of their invoices for services rendered and costs incurred on a weekly

 basis or such other time frames as the Bank and the Receiver may agree. The Receiver may be

 paid from the Receivership Assets or proceeds upon approval of such invoices by the Bank,

 provided, however, the Court shall retain jurisdiction to finally approve any compensation paid to

 or due the Receiver after notice to such persons in interest as the Court may direct. Fees and

 expenses payable to the Receiver shall be treated as priority administrative expense claims, and

 payment of such amounts in accordance with this order shall take priority over payment of any

 claims arising prior to the date on which the Receiver is appointed, except for the Bank’s claims.

 If the Receivership Assets are not sufficient to pay the Receiver’s expenses and fees, the Bank




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 agrees to indemnify and pay all of the Receiver’s reasonable expenses and fees, including the

 Receiver’s reasonable legal fees incurred on or after the Effective Date. The Receiver’s

 compensation shall not preclude the Receiver from receiving such additional compensation as may

 be approved by the Court, or agreed between the Receiver and the Bank in the event the Receiver

 or any affiliate of the Receiver is retained to perform and does perform additional services in

 connection with the Receivership Assets.

        15.     The Receiver shall have all necessary powers to manage and operate the

 Receivership Assets, including, but not limited to, the following powers and responsibilities: (a)

 to take possession of the Receivership Assets and all personalty related thereto, including, but not

 limited to, all title certificates or other evidence of ownership (except where held by or for the

 account of the Bank or other secured creditor to perfect a lien, which possession and perfection

 shall not be affected by this Order), licenses, permits, books, records, computers, electronically

 stored data, software, programs, internet sites, internet domain names, phone numbers, fax

 numbers, credit card accounts and other electronic payment processing systems, bank accounts,

 keys, combinations for locks, passwords or other access information, or which relate in any manner

 to the management or operation of all or any portion of the Entity Defendants’ business or the

 Receivership Assets; (b) to direct the Entity Defendants, their equity owners, officers, agents,

 employees or other representatives immediately to turn over and deliver or cause to be delivered

 to the Receiver or its designee all property which relates in any manner to the management or

 operation of the businesses and the Receivership Assets, including, but not limited to, all keys,

 combinations for locks, passwords or other access codes, title certificates or other evidence of

 ownership, licenses, permits, books, records, computers, electronically stored data, software,

 programs, internet sites, internet domain names, phone numbers, fax numbers, credit card accounts




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 and other electronic payment processing systems, accounts, operating statements, reserve accounts

 and the like pertaining to the operation of the businesses or the Receivership Assets; (c) subject to

 the rights and interests, and for the benefit, of the Bank, to take such steps with respect to the

 outstanding accounts payable and the status of management of the businesses in order to maintain,

 preserve, and protect the Receivership Assets including, but not limited to, discerning the status of

 the outstanding accounts payable and to settle any such accounts that the Receiver or its designee

 deems necessary (but without any obligation to pay any account payable incurred prior to the

 Effective Date), and the power to demand, collect and receive all sums now due and unpaid or

 which hereafter shall become due with respect to or arising out of the Receivership Assets during

 the pendency of the receivership authorized hereby; (d) subject to the rights and interests of the

 Bank, to commence and prosecute such actions at law or in equity that the Receiver deems

 necessary to fulfill its duties to collect, preserve and, if appropriate, liquidate the Receivership

 Assets; (e) subject to the Bank’s approval, and if deemed appropriate, to negotiate and facilitate

 the sale or other disposition, and receive directly any and all funds not constituting proceeds from

 such sale; (f) to use, operate and conduct businesses; (g) to take possession of and maintain existing

 bank accounts at, or transfer, change, or open new bank accounts at, and consolidate all of the

 Entity Defendants’ bank accounts at, Fifth Third Bank; (h) to secure such monies as the Bank may

 be willing to (but is not obligated to) advance for the operation, preservation, maintenance and

 liquidation of the Receivership Assets; (i) make any reasonable reductions in the Entity

 Defendants’ operating expenses, whether or not in the ordinary course of business; (j) the exclusive

 power and authority to file on behalf of the Entity Defendants a petition for relief under Title 11

 of the United States Code; (k) terminate or modify any currently existing written or oral contract

 (other than the Loan Documents), with any and all damages arising therefrom to be paid with




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 revenues derived from the Receivership Assets after entry of this order in such amounts and at

 such times as the Receiver deems prudent in its business judgment and incur no termination fees;

 (l) assume and assign any currently existing written or oral contracts in accordance with the terms

 of this Order and applicable law; (m) enter into new contracts on behalf of the Entity Defendants

 for goods or services that the Receiver, in its business judgment, deems necessary or advisable for

 the operation of the Receivership Assets; (n) hire, discharge, manage, and control such employees

 and/or staff at the Entity Defendants, except as prohibited by law, as the Receiver determines

 necessary or advisable; (o) engage professionals, including, but not limited to, attorneys,

 accountants, communication consultants, investment bankers, consultants, brokers, forensic and

 investigative accountants, appraisers, engineers, managers and any other service providers as the

 Receiver may, in its sole business judgment, deem necessary or advisable to assist the Receiver in

 the performance of its duties under this order and agree to such terms (including financial terms)

 with respect to such engagements as the Receiver may, in its sole business judgment, deem

 necessary or advisable, with the reasonable fees and expenses of such professionals and service

 providers to be payable on a current basis, all in accordance with the terms of this Order regarding

 the payment of fees and expenses; (p) generally do, execute, and perform any other act, deed,

 matter, or thing whatsoever that the Receiver reasonably believes ought to be done, executed, and

 performed in and about, or with respect to, the Receivership Assets; and (q) to apply to this Court

 for further direction and for such further powers as may be necessary or desirable to enable the

 Receiver to fulfill its duties. Notwithstanding the foregoing, to the extent the Receiver’s operation

 of the Entity Defendants’ business or the Receivership Assets conflicts with the Defendants’

 administration of the Non-Receivership Assets, the Parties shall work together and reasonably

 cooperate to avoid any dispute.




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        16.     All monies advanced by the Bank, in its sole discretion, pursuant to this Order, shall

 be protective advances and the amount of any such advances shall be added to the Loan

 Documents. All monies advanced by the Bank, in its sole discretion, shall be under and governed

 and secured by the Loan Documents, and this Order, by which the Bank is and shall continue to

 be secured by a first priority lien on the Collateral and Receivership Assets and all other collateral

 agreements, instruments or documents evidencing, securing, or otherwise delivered in connection

 with the Loan Documents. Notwithstanding any provision in this Order, the Bank is and will

 continue to be secured by the Collateral and Receivership Assets to the same extent, validity, and

 priority it was prior to the Effective Date (as defined herein).

        17.     In order to exercise the authority conferred upon it under this paragraph and more

 generally by this Order, and subject to the limitations contained within this Order, the Receiver is

 hereby vested with the standing and all power and authority of, but without the liability of or

 associated with, or obligation to act as: (a) the manager of the Entity Defendants, (b) the Entity

 Defendants in their capacity and relationship as “employer” as the Receiver deems necessary for

 the operation and management of the Receivership Property, including, but not limited to, the

 power and authority to (i) execute documents, instruments and resolutions in connection with any

 authorized sale or finance transaction, and (ii) have and obtain access to employee records, reports

 and communications and other work product related to the ordinary course of the Entity

 Defendants’ business.

        18.     The Receiver is authorized in its discretion to employ, fix, and pay the

 compensation, salaries and wages of all managers, agents, employees, servants, and contractors

 for the Entity Defendants as may be advisable or necessary in its judgment for the operation,

 management, conduct, control, leasing, sale, or custody of the affairs of the Receivership Assets.




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        19.     The Receiver or its designee shall conduct an inspection of the Receivership Assets,

 and shall perform a complete inventory of the Collateral coming under its control or possession

 pursuant to this Order. The Receiver or its designee shall file with the Court a true and complete

 inventory of the Receivership Assets under oath within thirty days of the Effective Date. The

 inventory shall list all property and assets in the Receiver’s possession or in the possession of

 others who hold possession as the agent of the Receiver and shall, in a separate schedule, inventory

 the property and assets of the estate not reduced to possession by the Receiver but claimed and

 held by others. Additionally, the inventory shall describe the Receivership Assets that have already

 been liquidated as of the date of the inventory, the disposition of the proceeds (including any

 expenses of sale, compensation to the Receiver and any payment to the Bank), and whether any

 party other than the Bank has asserted any lien or any other interest in the Receivership Assets,

 including any interest asserted pursuant to any search and seizure warrant.

        20.     The Receiver or its designee shall keep a true and accurate account of all receipts

 and expenditures and shall, within three months after the filing of the inventory referenced above,

 and at such regular intervals of three months thereafter until discharged, file reports of Receiver’s

 receipts and expenditures and of Receiver’s acts and transactions in Receiver’s official capacity.

        21.     The Receiver or its designee shall file a list of creditors within thirty days of the

 date of this Order and shall provide notice to such creditors of the appointment of the Receiver and

 the entry of this Order within ten days of filing such list of creditors.

        22.     All sale proceeds, rents, issues, profits, revenues, income or other payments that are

 now or hereafter become due (hereinafter, collectively, the “Accounts”) with respect to all or any

 portion of the Receivership Assets, whether pursuant to oral or written agreements, shall be




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 remitted by the tenants, account debtors, purchasers or customers, directly to the Receiver without

 setoff, recoupment or deduction of any type, and held or disbursed in accordance with this Order.

        23.     The Receiver may obtain liability insurance to protect itself in carrying out its duties

 hereunder with a policy limit acceptable to the Bank, and the premium there for shall be paid from

 the Receivership Assets.

        24.     The Receiver shall have the power, in accordance with applicable law, to avoid

 fraudulent transfers or conveyances of any of Entity Defendants’ assets or fraudulent obligations

 incurred prior to the appointment of the Receiver.

        25.     The Receiver shall ensure that existing insurance coverage for the Receivership

 Assets remain in force until the expiration of the current paid-up term under such policy or policies

 and that the Bank remains a loss payee and additional insured under such policy or policies. The

 Receiver shall notify the insurance carriers immediately of the appointment of the Receiver under

 this Order and request that the Receiver be added to the insurance policy or policies as an additional

 insured there under. Upon the expiration of the paid-up portion on such policy or policies, the

 Receiver shall have the responsibility for keeping the Receivership Assets insured and may as an

 option keep in force the existing insurance coverages or obtain new coverages for the Receivership

 Assets, each of which coverages shall name the Receiver as an additional insured thereunder and

 the Bank as an additional insured and loss payee.

        26.     The Receiver is entitled to rely on all outstanding rules of law, court orders and any

 future court orders and shall not be liable to anyone for its own good faith compliance with any

 order, rule, law, judgment, or decree. In no event shall the Receiver be personally liable for the

 debts or obligations of the Defendants or be liable to anyone for good faith compliance with its

 duties and responsibilities, nor shall the Receiver, its employees, agents or advisors be liable to




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 anyone for any actions taken or omitted by the Receiver, except upon a finding by this Court that

 the Receiver or its designee acted or failed to act as a result of malfeasance, bad faith, gross

 negligence or reckless disregard of its duties.

        27.     Defendants, their directors, managers, members, partners, officers, agents,

 employees or other representatives, as the case may be, under this Order are hereby directed to use

 their best efforts to ensure a smooth transition of the operation of the Receivership Assets to the

 Receiver or its designee, and Defendants shall cooperate with the Receiver or its designee in

 consummating such transition and the Receiver, its directors, managers, members, partners,

 officers, agents, employees or other representatives, as the case may be, shall have the reciprocal

 duty and obligation with respect to the Non-Receivership Assets.

        28.     The Receiver shall not be bound or personally liable for any or all contracts,

 agreements, understandings, or other commitments the Entity Defendants had, or may have with

 third parties with respect to the Entity Defendants’ business operations or the Receivership

 Property, whether oral or written. The Receiver may, by an affirmative written ratification executed

 by the Receiver, agree to become bound to any such contracts, agreements, understandings, or

 other commitments or may agree to enter into any new or amended contracts, agreements,

 understandings, or other commitments. Nothing in this Order constitutes or shall be construed to

 constitute an assumption of any of the leases, contracts, or agreements currently existing with

 respect to the Entity Defendants’ business operations of the Receivership Property by the Receiver

 or a waiver by the Receiver of any default under any such lease, contract, or agreement.

        29.     Except as otherwise stated herein, all of Defendants and their affiliates, directors,

 managers, members, equity owners, creditors, and all other persons and parties in interest, and all

 others acting on behalf of any such person or party in interest, including any federal, state, or local




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 agency or authority, sheriffs, marshals, other officers, deputies, servants, agents, employees and

 attorneys, are enjoined from:

                a.     Commencing, prosecuting, continuing, or enforcing any suit
                       or proceeding in law, equity, bankruptcy, or otherwise
                       against or affecting the Receivership Assets without first
                       obtaining leave of this Court, except that such actions may
                       be filed to toll any statutes of limitations;

                b.     Using self-help or executing or issuing or causing the
                       execution or issuance of any court attachment, subpoena,
                       warrant, replevin, execution, writ, or other process for the
                       purpose of impounding or taking possession of or interfering
                       with or creating or enforcing a lien upon any portion of the
                       Receivership Assets, wherever situated;

                c.     Attempting to modify, cancel, terminate, call, extinguish,
                       revoke, or accelerate the due date of any lease, loan,
                       mortgage, indebtedness, security agreement or any
                       document otherwise affecting the Property;

                d.     Doing any act to interfere with the taking control,
                       possession, or management, by the Receiver, of any portion
                       of the Receivership Assets or to interfere in any manner with
                       the exclusive jurisdiction of this Court over the Receivership
                       Assets;

                e.     Engaging in any act to create, perfect, or enforce any lien
                       against the Receivership Assets, unless specifically
                       authorized by order of this Court; and

                f.     Engaging in any act to collect, assess, or recover a claim
                       against the Receivership. Assets that arose before the
                       appointment of the Receiver.

        30.     Notwithstanding anything to the contrary contained in this Order, (a) the Bank is

 not enjoined from pursuing a sale of the Collateral, and the Receiver is permitted, subject to

 accounting to the Court, to remit any and all Collateral proceeds to the Bank; and (b) nothing

 herein is intended to interfere with any pending or future criminal investigation or proceeding or

 other exercise of the police power by any federal, state or local agency or authority against the




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 Defendants except for the protection and preservation of the Receivership Assets provided by this

 Order.

          31.   Notwithstanding anything to the contrary contained in this Order, nothing herein

 shall alter, modify, subordinate, or impair any existing rights, interests, or remedies of the Bank,

 whether now or in the future available under the Loan Documents at law or in equity, including,

 but not limited to, any right of offset with respect to any funds now or in the future on deposit or

 otherwise in the possession of the Bank or any of its affiliates.

          32.   Neither the Receiver nor Bank shall have any personal liability for any

 environmental liabilities arising out of or relating to Defendants or Defendants’ businesses or the

 Receivership Assets.

          33.   Neither the Receiver nor Bank shall have the right to file any local, state, or federal

 tax returns on behalf of any of Defendants or shall have any obligations or duties with respect to

 the personal liability or affairs of Defendants. Defendants shall be responsible for managing its tax

 issues. Receiver shall cooperate with Defendants to ensure that all tax obligations are paid in the

 ordinary course of Defendants’ business and shall cooperate with Defendants to permit Defendants

 to file all necessary and appropriate tax documents. Receiver shall ensure that any trust fund taxes

 accruing after the Effective Date are collected, segregated, and paid over to the appropriate taxing

 authority in a timely fashion. All employment or trust fund type taxes incurred after the Effective

 Date shall be paid before paying any other expenses or costs of Defendants’ business.

 Notwithstanding any provision of this Order to the contrary, the Defendants shall have the

 exclusive power and authority to prepare and file all federal, state, and local income tax returns.

          34.   The Receiver shall have no liability with respect to its duties hereunder except for

 the gross negligence or willful misconduct of the Receiver, its employees, or agents. The




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 Receiver’s liability as a receiver hereunder shall be limited to the assets of the Receiver, and no

 other partner, director, officer, employee, or agent of the Receiver shall have any personal liability

 hereunder.

        35.     Bank agrees to indemnify the Receiver, its agents and subcontractors, from any

 liability, debts, claims, demands, damages, actions, causes of action and/or judgments which, (i)

 arise out of the receivership herein; (ii) are brought against the Receiver, its agents or

 subcontractors, personally; and (iii) are not attributable to the Receiver, its agents’ or

 subcontractors’ intentional misconduct or gross negligence. For the avoidance of doubt, nothing

 herein shall be construed as an agreement by the Bank to indemnify any party (with the exception

 of the Receiver) for any liability, debts, claims, demands, actions, causes of action and/or

 judgments of or against either (a) Defendants or (b) any of the Entity Defendants’ officers,

 directors, shareholders, or employees.

        36.     The Court shall retain jurisdiction and supervision of all matters concerning the

 Receiver, the receivership created hereby and the Receivership Assets.

        37.     The receivership authorized and created hereby may be terminated at any time by

 the Bank or the Receiver filing with the Court, with service upon Defendants, a Motion to

 Terminate Appointment of Receiver. Upon proper notice thereof and upon hearing and

 determination of this Court that the purposes of this receivership have been served, this Court may

 terminate the receivership.

        38.     This Order shall remain in full force and effect until further order of this Court,

 and this Court shall retain exclusive jurisdiction of this matter for all purposes.




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        The Court notes that the Parties agreed to stay the case management deadlines in their

 agreed proposed order. However, the Court has not set any deadlines but will instead work with

 the Parties on any that should be set.

        IT IS SO ORDERED, this 22nd day of August, 2024.
                                                s/ Sheryl H. Lipman
                                                SHERYL H. LIPMAN
                                                CHIEF UNITED STATES DISTRICT JUDGE




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